3:19-cv-03195-CSB # 23   Page 1 of 11
                                                                E-FILED
                             Thursday, 17 September, 2020 11:54:30 AM
                                           Clerk, U.S. District Court, ILCD




                          ,J.
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 CHRISTOPHER CALDERIN!
NOTARY PUBLIC - STATE OF ILLINOIS
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                          3:19-cv-03195-CSB # 23          Page 3 of 11
                                       ..




   .l)w ,~btJ&
Plaintiff/ Petitioner

                  Vs.




                             PROOF/CERTIFICATE OF SERVICE

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       PLEASE TAKE NOTICE that at: _ _ AM/ PM ~ ' t : , f . L . . . ~ , 20,:;IQI
pfaced the documents listed below i n the institutional mail at 0(.A,               C,, C:,
Correctiona l Center, properly addressed to the parties listed above for mailing through the
United States Postal Service.




Pursuant to 28 USC 1746, 18 USC 1621 or 735 ILCS 5/ 1-109 l declare, under penalty of perjury
that I am a named party in the above action, that ! have read the above documents, and that
the information contained therein is true and correct to the best of my knowledge and belief.




Revised 4/15/16
                                                 3:19-cv-03195-CSB # 23                Page 4 of 11


                                                        ILUNOIS DEPARTMENT OF CORRECTIONS
                                              Medical Special Services Referral and Report
                                                                                                               10/tS/5 I
                                                       GRAHAM CORRECTIONAL CENTER
                                                                    (Facility)


    Offender's Name:_....,.f(tl--j+-------'b~w_'_,~__..~f~--                         ID#     5')go.3
    Reason for Referral:               0
                                   Qonsult         O Non-Formulary Medications                      O Medical Equipment
                               ~aluation           D Management
                                 D Procedure/service (specify)
                                                            ---------------------
    Urgent: D Yes            0No
                                       •
                                   Other (specify)
                                                        -------------------------
    Referred to:        -H\'1 \\       PT              or-~
    Rationale for Referral:        A,...;.11'..lt~--+-~l "V"-==,r=;u~--\;;;s\;::\t::1c=::Jl=f~~f=-g+---
                                                         ;(                          70{


    Dr. Francis Kayira
    Print Referring Practitioner's Name




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-   Recommendations/Plans:                 _15.:U.#e.c~.__~~      ~.e:.1:.~~~!Wll;!~~-~;:n---'.i,+::2..!.---JL.:-~.L.....!....l.~~'4-\:-\ ; ~ ,




    Facility Medical Director Use Only
    I have reviewed the recommendations and:

             ~ p r o ve.

              D     Deny or revise as indicated on the Notification of Medical Service Referral Denial or Revision,


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    Distribution: Offender's Medical File. and                               Page 1 of 1                                  DOC 0254 (Eff.4/2007)
    if denied/revised, Heath Care Unit Administrator                                                                        (Replaces DC 71 05)
                              3:19-cv-03195-CSB # 23               Page 5 of~,vv:::>
                                                                             11               rax     ~erver




                               SIU SUR Orthopedic Office Visit
                                          Final

Patient:            Dwight Long
                    Graham Correctional Center                             EMRN:            0001638531
                    12078 Illinois Route 185                               Age/DOB:         68/Oct 18, 1951
                    Hillsboro. IL 62049-3620
                                                                                Home:        (217) 532-6961
Encounter Date: Jun 17 2020 9:00AM                                              Work:




Chief Complaint

   Dwight Long presents to clinic today for a follow-~ appointment.
  PT HERE FOR RIGHT SHOULDER PAIN. PT IS AN INMATE AT GCC AND IS ACCOMPANIED BY GUARDS.
  PT WAS SEEN IN 2018 FR THIS PROBLEM.

History of Present Illness
  Inmate patient.
  68-year-old male patient presenting for right shoulder pain. The patient was seen a few years ago for his right
  shoulder pain. He was found to have osteoarthritis of the glenohumeral joint. He was referred to a surgeon for
  possble shoulder replacement The patient underwent right shoulder arthroscopy with rotator cuff repair In
  November 2018. The patient notes no much improvement in his pain. He continues to have pain and decreased
  range of motion in his right shoulder. The pain gets aggravated with any use away from the body or with activities.
  The p'ain is minimally decreased by rest and immobility. The pain wakes him up at night. He has tried some
  Tylenol and lb~rofen with minimal improvement in his pain.

Active Problems
    1. Enlarged parotld gland (K11 .1)
    2. Obstruc;tion of submandbular duct (K11.8)
    3. Right shoulder pain (M25.511}
    4. Submandibular sialolithiasis (K11 .5}

Past Medical History
    1. History of Anxiety ancf depression (F41.9,F32.9}
    2. History of Enlarged prostate (N40.0}
    3. History of essential hypertension (286.79)
     4. History of high cholesterol (286.39}
     5. History of hyperlipidemia (286.39)

Surgical History
     1.   History of Back Surgery
     2.   History of Shoulder arthroscopy
     3.   History of Total Knee Replacement Right
     4.   History of Wrist Surgery

Family History
     1. Family history of Anxiety and depression
     2. Family history of hypertension (282.49)

Social History
    1 . Never a smoker

Current Meds
     1. Artificial Tears SOLN; INSTILL 2 DROP 3 times daily OU;

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                                                    SIU SUR Orthopedic Office Visit
                                                                     Final

           Patient:                     Dwight Long
           Encounter:                  Jun 17 2020 9:00AM
           EMRN:               0001638531


                    Therapy: (Recorded:15Aug2018} to Recorded
                  2. Aspirin 81 MG TABS; TAKE 1 TABLET DAILY;
                    Therapy: (Recorded:17Jun2020) to Recorded
                  3. Romax 0.4 MG Oral Capsule; TAKE 1 CAPSULE DAILY;
                    Therapy: (Recorded:21May2018} to Recorded
                  4. MP Pink Bismuth 262 MG TABS; TAKE AS DIRECTED;
                    Therapy: (Recorded:21May2018} to Recorded
                  5. Naproxen 500 MG Oral Tablet; TAKE 1 TABLET EVERY 12 HOURS AS NEEDED;
                    Therapy: (Recorded :21 May2018} to Recorded
                  6. Pamel.or 25 MG Oral Capsule; TAKE 1 CAPSULE AT BEDTIME;
                    Therapy: (Recorded:17Jun2020) to Recorded
                  7. Toprol XLS0 MG Oral Tablet Extended Release 24 Hour; TAKE 1 TABLET DAILY;
                    Therapy: (Recorded:17Jun2020) to Recorded
                  8. Zocor 40 MG Oral Tablet; TAKE 1 TABLET DAILY;
                    Therapy: (Recorded:21May2018} to Recorded

            Allergies
                   1. No Known Allergies

            Review of Systems

               Review of Systems including Constitutional, Eyes, ENT,.S~in, Cardiovascular, Respiratory, Gastro-lntestinal,
               Genito-Urinary, Musculo-Skeletal, Neurologic, Endocrine, Hematologic and Psychiatric reviewed, and positive for
               the following: Right shoulder pain, neck pain, history of depression.                           ·

            Vitals
                Vital Signs
                Recorded: 17Jun2020. 09:25AM
                   Height: 6 ft




-
                   Weight: 200 lb
                   BMI Calculated: 27.13
                   BSA Calculated: 2.13
                   Systolic: 152
                   Diastolic: 88
                   Heart Rate: 59
                   List pain location: RIGHT SHOULDER
                   (SIU only} Fall Screening (Required 65+ years): A) No falls in the past year
                   (SIU only} PHQ-2: Over the past 2 weeks, have you been feeling down, depressed or hopeless?
                (Required}: B) Several days (1)
                   (SIU only) PHQ-2: Over the past 2 weeks, have you had little Interest or pleasure in doing things?
                (Required): B) Several days (1}
                   (SIU only) Are you a Tobacco User? (Required 13+): never
                   (SIU only) Pain Scale: G) 6/10

            Physical Exam
                Visual Analog Pain Scale: 6/10.

                General: Not in acute distress, well developed and nourished.
                HEENT: Extraocular movements intact, normocephalic, supple neck, trachea midline.
                Skin: Warm, dry, pink.
                Cardiovascular: Pulses +2 in bilateral radial and ulnar arteries, pulses +2 in bilateral dorsalis pedis & tibialis


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                                           SIU SUR Orthopedic Office Visit
                                                           Final
    Patient:                Dwight Long
    Encounter:             Jun 17 2020 9:00AM
    EMRN:             0001638531


       posterior arteries, normal capillary refill.
       Respiratory: Good chest expansion, regular respiratory rate, no shortness of breath, no dyspnea.
       Gastrointestinal: Soft abdomen, no tenderness to palpation.
       Lymphatics: No edema in all 4 extremities.
       Psychiatric: Normal mood and affect.
       Neurologic: Alert, oriented x3, speech clear and coherent.

      Right shoulder exam:
      Surgical scars are clean, dry and intact. No deformities, no bruising, no muscle atrophy. Tenderness to palpation
      positive acromion anterior and lateral, negative bicipital groove, negative acromioclavicufar joint. Positive grinding
      of the shoulder joint with internal and external rotation at side. Active flexion 130°, passive flexion 160°, active ER
      at side 50°, passive ER at side 70°, active and passive IR at side mid lumbar. Positive Neer impingementtest,
      positive Hawkins test, negative Speed test, negative Yergason's test, negative cross-body adduction test. Motor
      power 5/5 deltoid, biceps, supraspinatus, infraspinatus, teres minor and subscapularis. Sensation intact to light
      touch in all dermatomes and pulses are palpable.

    Assessment
        1. Right shoulder pain (M25.511)
    Consult
      Imaging, Diagnostic Testing and Laboratory Testing:
      I independently reviewed the patient's images today in clinic, and the following is my interpretation:
      Radiographs of the right shoulder performed at CAH on 06/17/2020 and compared to prior radiographs show
      osteoarthritis of the glenohumeral joint with joint space narrowing, osteophyte formation and subchondral
      sclerosis. Two visible anchors from prior surgery. Humeral head well-seated within the glenoid without proximal
      migration.

      Assessment:
      68-year-old male patient with right shoulder pain.




-
      Plan:
      • I reviewed the patient's records sent to my office.
      -I requested medical records from the patient's PCP.
      •The findings were discussed with the patient.
      The patient has having pain in the right shoulder for several years now. He has osteoarthritis of the glenohumeral
      joint. His rotator cuff seems to be working well on exam. He has decreased terminal range of motion secondary to
      pain. He continues to have glenohumeral joint arthritis.
      We discussed the findings at length, the nature of the problem and the treatment options. The patient showed
      understanding and agreement on the following plan of action:                                              ·

      The patient would best benefit from shoulder replacement to the right shoulder to alleviate his pain.
      I will refer the patient to a colleague who performs shoulder replacement surgery.
      Topical ice and heat as needed for pain, topical creams and analgesics as needed for pain, over-the-counter oral
      pain medications as needed for pain.

      - This plan was discussed with the patient, and the patient is agreeable with this course of treatment and showed
      understanding.
      - The patient's questions were answered at today's visit.
      - The patient was instructed to call the office if any new concerns or significant worsening occurs.
      -The patient was counselled about the pain medication policy in our clinic.
      -Follow-up in clinic as needed.

      Dr. El Bitar is using a speech recognition software for dictation of this note. Transcription variances may occur.


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                                       SIU SUR Orthopedic Office Visit
                                                       Final
    Patient:              Dwight Long
    Encounter:           Jun 17 2020 9:00AM
    EMRN:           0001638531


    Plan
      Right shoulder pain
        1. XR SHOULDER ROUTINE RIGHT 73030; RG Modality:RG; Status:Complete;                Done:
          17Jun2020


      Depression: Recommended patient follow up with primary care provider.
      Chronic Pain: Patient instructed to use over-the-counter medications for pain.
      Elevated Blood° Pressure: recommended patient follow up with primary care provider.

    Signatures



-   Electronically signed by: YOUSSEF EL BITAR (SIU}, M.O.; Jun 18 2020 11 :49AM CST




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JB Pritzker                                                                                          Rob Jeffreys
 Governor                                                                                           Acting Director




                               The Illinois Department of Corrections
                                           Graham Correctional Center
              12078 Illinois Route 185 • Hillsboro, IL 62049 • {217) 532-6961 TDD: (800} 526-0844

                    MEDICAL FURLOUGH MEMORANDUM

   INMATE:                         Long, Dwight

   ID NUMBER:                      S15203

   PRE-CERT NUMBER                 809 724 293

   WHEN:                           July 15th ,2020

   TIME OF APPOINTMENT:            3:00pm




   ADDRESS

   014 ashlyn ave
   Mt zion


   DOCTOR BEING SEEN:   Dr Sullivan consult for shoulder replacement
   ESTIMATED TIME OF APPOINTMENT:      1-2 hours



          INFIRMARY (1)




        Mission: To serve justice in Illinois and increase public safety by promoting positive change in
           offender behavior, operating successful reentry programs, and reducing victimization.

                                             www.illinois.gov/idoc
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                                                 Medical Spe ,at Services Referral and
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                                                        GRAH M CORRECTIONAL CENTER                                                                       I
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                                                                        vl _                                            ID#

     Reason for Referral:                                        D Non-Formulary Medications D Medical Equipment


     Urgent: 0 Yes
                           !:O      D
                                          Evaluation      O Management
                                          Procedure/service (specify)
                                          Other (specify]             -------------------




     Referred to:    _____..Q2...-s.-~£:J..>iia:~:\Q~(--J...CJC~\:bL-L---1..Dc4-~S~u~\QJ\'\L\':WYJW')~-_ __
     Rationale for Referral:                     coo.Su\:\:-- · ~c                                                             ~~


     ~r. Francis Kayira
     Print Referring Practltionefs Name                 Refer                                                                            D

                                                     Report of Referral (Use Reverse Side, if necessary)
     Findings:._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

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      Assessment:'{,~                        ~~~ x{V\<QN\C\~

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                                                                                                                                             Date    ,
       Print PracllllOnet's Name

       Facility Medical Director Use Only
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                                                                                                                                  •           Date


                                                                                                                                                             DOC 0254 (Eff.4/2OO7)
                                                                                                             Page 1 of 1                                      (Replace$ DC 7105)
        Oistr1blllion: Offenders Medical file, and
        if denied/revised, Healh ca,e Unit Admlni:ltrator
                                     3:19-cv-03195-CSB # 23                                 Page 11 of 11



    DOC
    _ _ _ _ _ _ _ _ __.._,__ ..u (
    Decatur Orthopedic Center
                                                                                                                               104 Ashland Ave
                                                                                                                         Mt Zion, IL 62549·1271
                                                                                                                         Phone: (217) 864-2665
                                                                                                                           Fax: (217) 864-8042




                                                                Physical Therapy Order
                           • -. i - ~ ~ -,JJ...t . •·
                                                                                                    l
    Patient Information                                                                             I
    Dwight Long
    12078 Rt 185
    Hillsboro, IL 62049
    Home Phone: (217) 532-6961x2483                                       Patient ID:164290     Gender:Male   Date of Birth:10/18/1951
    PCP:,                                                                                           1
                           •    ~ -;:,__:_   _ , 4.1. ..i;,.. _ • -.: •
    Patient Insurance Information
    Wexford Health Sources Inc (Sn) 939-2884
    Group Number: 809724293
    Policy Number: NONE


    Procedures Ordered
    PHYSICAL THERAPY :.-eval &"Treat:' ROM and strengthening, scapular stabilization 2 times per week
    for a duration of 6 weeks
      Diagnosis: Shoulder impingement, right (M75.41)




                                                            07/15/2020
     Donald N. Sullivan, MD                                   Date




                           .. ' ~-~J-....::U           !.




-    Dwight Long
     Wednesday, July 15, 2020
                                                                                Patient #: 164290                   00B: 10/18/1951 (68 years)
                                                                                                                                    Page 1 / 1
